           Case 1:21-cr-00028-APM Document 580 Filed 01/18/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
               v.                                 )   Nos.   1:21-cr-28-8 (APM)
                                                  )          1:22-cr-15-2 (APM)
KELLY MEGGS,                                      )
                                                  )
                         Defendant.               )

              GOVERNMENT’S PARTIAL OPPOSITION TO DEFENDANT’S
                         MOTION FOR SUBPOENAS

       The government opposes in part Defendant Kelly Meggs’s request for issuance of first

group of trial subpoenas (filed as ECF 568 and 570 in case 21-cr-28-8 (APM)). The government

opposes the request for subpoenas duces tecum to law enforcement personnel, including members

of the U.S. Capitol Police (Officer Harry Dunn, Inspector Jason Bell, Lieutenant Scott Grossi,

Chief Steven Sund, Chief Thomas Manger) and FBI (Special Agent Whitney Drew), for the same

reasons the government provided in its opposition to Kelly Meggs’s motion for issuance of a

subpoena duces tecum to the U.S. Capitol Police (ECF 538).

       The Court denied that earlier motion, holding that “Defendant’s request that the court issue

a subpoena to the U.S. Capitol Police is denied because he has failed to show that the requested

records are ‘not otherwise procurable reasonably in advance of trial by exercise of due diligence.’”

Dec. 23, 2021 Order (ECF 656) (quoting United States v. Nixon, 418 U.S. 683, 699-700 (1974)).

The same holds true here for the requests to issue subpoenas duces tecum to the U.S. Capitol Police

and FBI.

       In addition to the six proposed subpoenas duces tecum to law enforcement personnel,

Defendant Kelly Meggs is also apparently seeking subpoenas for trial testimony to the same six

witnesses. Though Meggs’s attorney never consulted with the government on this point, the

government was intending to call Capitol Police Officer Harry Dunn as a trial witness for the
         Case 1:21-cr-00028-APM Document 580 Filed 01/18/22 Page 2 of 4




government and to make FBI Special Agent Whitney Drew, who is one of the case agents,

available to testify if necessary. While Federal Rule of Criminal Procedure 17(b) requires the

issuance of subpoenas for witnesses to testify on the defendant’s behalf, “this rule also gives the

judge the discretion not to subpoena such witnesses, if their evidence would merely be cumulative

or if the accused’s contention is so devoid of merit that the testimony would waste the court’s

time.” United States v. Bailey, 675 F.2d 1292, 1297 (D.C. Cir. 1982). Moreover, while the motion

(at 2) indicates that Meggs’s attorney will comply with the applicable Touhy regulations and

“advise relevant government agencies that the testimony of government agencies is sought,” the

government understands that the Capitol Police’s general counsel has not heard from Meggs’s

attorney. And Meggs’s attorney has not complied with the Department of Justice’s Touhy

regulation. See 28 C.F.R. § 16.23(c) (“If oral testimony is sought by a demand in a case or matter

in which the United States is a party, an affidavit, or, if that is not feasible, a statement by the party

seeking the testimony or by the party’s attorney setting forth a summary of the testimony sought

must be furnished to the Department attorney handling the case or matter.”).

        In addition to the six proposed subpoenas to law enforcement personnel, Defendant Meggs

has asked for two subpoenas to press representatives (John Matthews of Radio License Holdings

LLC and Luke Mogelson of The New Yorker magazine), a subpoena to the Architect of the Capitol,

three subpoenas to other witnesses (Stewart Rhodes, Ray Epps, and John Earle Sullivan), and two

(apparently identical) subpoenas to Andrew Smrecek of Combat Art Training LLC. 1 Each of these

subpoenas apparently seeks both documents and testimony.

        The government takes no position on these additional subpoena requests, but makes the

following observations:


1
 Defendant Kelly Meggs filed a supplement (ECF 570) purporting to withdraw his request for a
subpoena to Alex Jones, but the motion did not request a subpoena to Mr. Jones.

                                                    2
         Case 1:21-cr-00028-APM Document 580 Filed 01/18/22 Page 3 of 4




        First, while the motion seeks a subpoena to Stewart Rhodes, Mr. Moseley has suggested

that he represents Mr. Rhodes, both before the House of Representatives Select Committee to

Investigate the January 6th Attack on the U.S. Capitol, see Kyle Cheney et al., Prosecutors charge

Oath Keepers leader, 10 others with seditious conspiracy, Politico (Jan. 13, 2022), available at

https://www.politico.com/news/2022/01/13/head-of-far-right-oath-keepers-10-others-charged-

with-seditious-conspiracy-in-capitol-riot-probe-527042; and in connection with his representation

of the Oath Keepers organization in a civil suit pending before this Court, see Defendant Oath

Keepers’ Motion to Clarify in Thompson v. Trump, case 21-cv-400-APM (ECF 54, Jan. 8, 2022).

His requested subpoena to Mr. Rhodes (now a co-defendant in case 22-cr-15) may therefore pose

a conflict.

        Second, in the course of both this particular case and/or the larger Capitol Breach

investigation, the government has obtained certain records from or about Stewart Rhodes, Ray

Epps, and/or John Earle Sullivan. The government has produced some of those materials in

discovery in this case and intends to produce the remainder in connection with global discovery.

In addition, Mr. Sullivan is being prosecuted in case 21-cr-78-EGS for his role related to the events

of January 6.

        Third, while of course the government does not know the details of the defense theory of

the case, the motion suggests that the defense will attempt to argue that other rioters’ planning,

coordination, and/or violence somehow negates Defendant Meggs’s mens rea or criminal

exposure. The government disagrees and would oppose any effort for the defense to introduce

such evidence at trial. Thus, to the extent that is the purpose of Defendant Meggs’s subpoenas, it

is possible that the subpoenas do not comply with Rule 17(c). See Nixon, 418 U.S. at 699 (holding

that documents sought by a subpoena must, among other factors, be “evidentiary and relevant”)

(footnote omitted).

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        Case 1:21-cr-00028-APM Document 580 Filed 01/18/22 Page 4 of 4




       WHEREFORE, the United States respectfully requests that this Court deny the motion to

issue subpoena duces tecum to members of the U.S. Capitol Police and FBI.

                                           Respectfully submitted,

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